eet

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 1 of 39

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS

MAUREEN O'DWYER ; CIVIL ACTION 05-4181 "K"3

VERSUS ,

: New Orleans, Louisiana
THE UNITED STATES OF AMBRICA, : February 22, 2006

ET AL. . ot 11:00 a.m.

* . . . a .
* . . * + = . . * * =

MOTION FOR LEAVE TO SUPPLEMENT AND AMEND COMPLAINT
HONORABLE MAGISTRATE JUDGE DANIEL E. KNOWLES, III,
, UNITED STATES DISTRICT COURT

APPEARANCES:

For the Plaintiff: ASHTON R. O'DWYER, JR., ESQUIRE
In Proper Person
One Canal Place
365 Canal Street, Suite 2670
New Orleans, Louisiana 70130

For the United States U.S. DEPARTMENT OF JUSTICE
of America: CATHERINE J. FINNEGAN, ESQUIRE
Torts Branch - Civil Division
U.S. Department of Justice
Benjamin Franklin Station
P.O. Box 888

For the Parish of BURGLASS & TANKERSLEY, LLC
Jefferson & Aaron BY: DENNIS J. PHAYER, ESQUIRE
Broussard: 5213 Airline Drive

Metairie, Loulsiana 70001-5602

For the Orleans MeCranie, Sistrunk, Anzelmo, Hardy,
Levee District: MAXWELL & McDaniel, F.C.
BY: THOMAS P. ANZRLMO, ESQUIRE
3445 N. Causeway Blvd., Suite 800
Metairie, Louisiana 70002

APPEARANCES {Continued}

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 2 of 39

For the City of New

City Attorneys' Office
Orleans, Mayor Ray BY: JAMES B. MULLALY, ESQUIRE
Nagin & Former City Attorneys! Office

Superintendent of City Hall
Police Eddie Compass: - 1300 Perdido St.
Room 5HO1

New Orleans, Louisiana 70112

Arlene Movahed, CSR

501 Magazine Street

New Orleans, Louisiana 70130
(504) 589-7777

Reported By:

Proceedings recorded by mechanical stenography;
transcript produced by dictation.

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 3 of 39

PROCEEDINGS
MORNING SESSION
(February 22, 2006)

(The following is a transcript of the Motion for Leave to
Supplement and Amend Complaint taken on February 22, 2006.)
(Open court.) .

THE COURT: Be seated. Good morning, everyone. Call
the first one.
THE CLERE: 05-4181, Maureen O'Dwyer, et al versus
the United States of America. .
Would counsel make their appearances for the record,
please.
MR. O'DWYER: May it please the Court, Your Honor,
Ashton O'Dwyer for plaintiffs, movers.
THE COURT: Good morning. .
MS. FINNEGAN: “May it please the Court, Your Honor,

eee cee et ene dee oe

THE COURT: Good morning.

MR. PHAYER : Dennis Phayer for Jefferson Parish and
Aaron Broussard.

MR. ANZELMO: Good morning, Your Honor. Tommy
Anzelmo representing the Orleans Levee District.

THE COURT: Good morning, Mr. Anzelmo.

MR. MULLALY: Good morning, Your Honor. Jim Mullaly

on behalf of the City of New Orleans, Mayor Nagin and former

Catherine-Finnegan.for. the.United States... ee

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 4 of 39

1 |jSuperintendent of Police, Eddie Compass.

“9 THE COURT: Mr. O'Dwyer, it's your motion.

3 MR. O' DWYER: Yes, Your Honor. May it please the

4 |Court, preliminarily, Your Honor, I didn't learn until.

5 lyesterday that the City of New Orleans had actually opposed my

6 jmotion. I discovered it on Pacer. I have not been served

7 jthrough the mail. ‘The mail is just horrible still. And mr.

8 |jMullaly and I are going to probably reach some accommodation in
9 jthat respect.

10 I don't know what they taught you in judge school

11° jabout motions for leave to amend. There is a great body of --

412 ‘THE COURT: . That makes two of us, I don't’ recall.

- 13 1 - MR. O' DWYER: There is a great body of Law dealing
14 |with amendment of pleadings. And the tenor of the purpose of
15 /allowing amendments, the reason for Rule 15, was not to try the
16 {case on the pleadings, it was to give the defendant or the

17 |parties, let's say, the notice of the type of claims that were

18 |being asserted against them so that “they Gola wount aome “Kind ~~
19 |o£f defense that didn't require them to guess about what

20 jevidence the plaintiff was going to present at trial.

21 In that respect, Your Honor, I respectfully submit

22 |that my handwritten original complaint put everybody on notice

23 of exactly what Ashton O'Dwyer, other plaintiffs, and the

24 |classes who were represented were shooting at our government;

25 jfederal, state and local,

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 5 of 39

I apologize to you if you had to plow through that
handwritten complaint and the amendment. This was written out
in my driveway in long hand because I didn't have a typewriter.
And it's hard to follow. I hope that in my papers, the Reply

Memo filed yesterday, that I simplified things a little for

- you.

Contrary to what my opponents are urging here, I have
not changed anything of the original tenor of my complaint. If
you look at the original complaint, you will see where I
specifically identified who the plaintiffs were: Survivors of
people who died, persons who suffered bodily injury, persons
who suffered property damage whether it was caused by flocd,
fire or government sponsored urban terrorism, people who
suffered environmental damage. And I specifically invoked
quote state and federal legislation, including The oil
Pollution Act of 1930, The Louisiana Oil Spill Prevention and

Response Act and CERCLA, among others.

against the United States of America. There's no contesting
that. This is the court of exclusive jurisdiction for clains
against the United States. And I remembered from law school
something that we used to call supplemental jurisdiction or
ancillary and pendant jurisdiction, which they now call
supplemental jurisdiction, against the remaining defendants.

But I amended on October 25th and when I did that, with leave

In my original complaint, I only alleged jurisdiction” ~~

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 6 of 39

Jem = we ee ee cee em terreno

of Court, I specifically pleaded, and I will quote, “This Court
also has original subject matter jurisdiction of the claims
herein asserted, since plaintiffs were deprived of rights to
life, property and pursuit of happiness, guaranteed by the U.S.
constitution, and the laws, statutes and treaties amendatory
thereto, by State and/or municipal governmental action, giving
rise to. purely federal causes of action." Now if that didn't |
put them on notice what my jurisdictional allegations were,
shame on them, shame on them. ,

Your Honor, I stand here today urging you not to deny
me leave to amend. And I am going to sit down in a few
minutes, but I challenge any of them to point to one
jurisdictional allegation in my eleventh amendment that they
maintain is futile and that they maintain the Court definitely
doesn't have jurisdiction for. I guarantee you they're not
going to be able to do it. They will argue, oh, he hasn't

exhausted his administrative remedies under the Federal Tort

administrative claims. I don't have control over what the
government does in either paying me and my clients or denying
the claims. So, I think, that argument is sophistry.

And I remind the Court of the arguments that I
advanced on my Motion for Protective Order, which is currently
being appealed to Judge Duval; namely, that I have asserted

claims both within and without the Federal Tort Claims Act.

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 7 of 39

WwW

Wo of

24

25

misfeasance; and non-feasance.

The Tucker Act, I believe, gives this Court concurrent
jurisdiction with inverse condemnation claims at least to the

extent of $10,000. Many of the people I represent are not land

owners. They didn't lose their homes like my sister or like,
you know, 150 to 300 others. They lost everything they had,-

though. And I respectfully submit that this Court has
concurrent jurisdiction for those claims under $10,000 for
whatever possessions they lost concurrent with the Federal
Court of Claims regardless of the environmental statutes.
Your Honor, I want to remind the Court once again of

what I pleaded initially in the first original complaint

amended with leave of Court. Not without leave of Court, with

leave of Court every time. Your Honor even signed one.

Magistrate Chasez signed at least one, maybe two. And Judge
Duval signed all the others. My original complaint was replete
with repetitive references to: 1, incompetence; 2, violation

of duty and statute; negligence; gross negligence; malfeasance;

It so happens that there is a Louisiana criminal
statute which prohibits malfeasance in office. JI am purauing
body bags, Eddie non/Compass mentis, Aaron Broussard on those

charges, criminal charges. I am accusing them of willful

misconduct . “My original complaint did not have the word
misconduct in it but it had intentional in it. I only learned

since we started the round of motions and oppositions, et

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 8 of 39

1 jcetera, that there existed two obscure immunity statutes under
2 jstate law that immunize representatives of state and municipal

3 {governments from action which they claim falls within the

4 {furtherance of the laws which the people elected them to carry
5 jout and safeguard.
6 . Well, mumber one, if they followed those laws, we

7 jwouldn't be here today because the levees wouldn't have failed,
8 {people wouldn't have been removed from their homes at gunpoint.
9 jAaron Broussard wouldn't have turned off the pumps when they
10 |were most needed. Secondly, these two statutes also allegedly
11’ Jjimmunize elected officials from conduct that constitutes
12 |willful, intentional, flagrant, or reckless quote misconduct.
13 |They have raised this now in their pleadings. I have got to
i4 jcounter it. And I respectfully submit that I should be granted
_15 |leave to amend to assert that, particularly, when we are still |
16 |within the one year anniversary of Hurricane Katrina, no status
17 |conference has been called, no discovery has been had yet.
“ie |they Were Ga HoELOS SE ENYe A Tong Cie ago oo
19 Your Honor, two points that I would make before I sit
° 20 |down. I would appreciate the opportunity for brief rebuttal.
21 jWhat we're dealing with here, what I am dealing with here is
22 jopposition to a Motion to Amend Pleadings at an early stage of
23 {litigation filed by our own government, the United States of
24 jAmerica. Are you kidding me? My clients did nothing wrong.

25 {They're here because someone wronged them. The same with the

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 9 of 39

ul

I om

24

25

“Veéading writ

state officials, body bags and Eddie non-Compass mentis and
Aaron Broussard. Our own government is opposing a motion that
is of a nature that is routinely granted by courts within the
Bastern District. I believe this is maybe the first motion for
leave to amend that has ever been opposed in 35 years of
practicing law. Ail I can say is, I must have hit a nerve with
something.

The last point I would make, Your Honor, and I cited
Wright, Miller and Kane several times, the most egregious case
that I found pre Rule 15 where a Motion for Leave to Amend. --
I'm sorry -- where the party was held to his pleadings was a
case from a state jurisdiction prior to Congress’ passage of
the Federal Rules of Civil Procedure, including Rule 15. A
Judge entered a JNOV because the original petition alleged half
a cent off what the jury awarded the plaintiff in the case and

the Judge JNOV'd a verdict in the plaintiff's favor and threw

him out of court. What I found extremely interesting in

er and Kane was the following quotes —--~~

"Particularly when dealing with amendments which do nothing
more than tweak what was originally pleaded and which
originally put the other parties on notice of the claims, quite
appropriately the courts have not imposed any arbitrary timing
restrictions on a party's request for leave to amend and
permission has been granted under Rule 15(a) at various stages

of the litigation following discovery --" We haven't even had

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 10 of 39

10

]
| } L discovery. "-- after a pretrial conference." We haven't even
2 fhad a status conference yet, although there is one set at 11:30
3 jtoday. "-- at a hearing on a Motion to Dismiss off of a
4 |Summary Judgment." We're not even there yet. These clowns are
5 filing motions based on the pleadings. We're not summary
6 |judgment time yet.
7 THE COURT: Mr. O'Dwyer, never refer to another
8 Jatterney in this court that way again. .
9 MR. O'DWYER: I was referring to the parties, Your
10. (Honor. I wasn't referring to the attorneys.
in THE COURT: Don't refer to anybody as clowns in my
12 fcourt. Are we understood?
Q 13 MR. O'DWYER: All right, Your Honor. "After a Motion
14 |to Dismiss has been granted but before the Order of Dismissal
15 jhas been entered. When the case is on the trial calendar and
16 |has been set. for a hearing by the District Court. At the
17 jbeginning, | during, and at the close of trial --4 And this is
18 Junbeifevabie, #2." after a judgment has been entered. wo RA” -

19 Jeven more unbelievable, "and even on remand following appeal."

20 | THE COURT: I get the méssage, Mr. O'Dwyer.
24 MR. O'DWYER: Thank you.

22 THE COURT: Opposition.

23 MS. FINNEGAN: Yes, Your Honor. May it please the

24 ;Court, Katherine Finnegan for the United States.

25 The United States has filed an opposition to

SPs

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 11 of 39

a

o -~J

LO

24

25

121

plaintiff's motion. And certainly it is within this Court's

discretion to grant plaintiff's motion for leave to amend their

complaint for the eleventh time. However, the United States

respectfully requests that it do not do so. But, if it does,
that the plaintiffs be instructed that this ie their last such
amendment .

The United States' opposition essentially focuses on

[three grounds. First, that an amendment here would be futile.

And the case in point would be Davis versus United States which
is an FTCA case in which one of the exceptions to the FICA
applied when plaintiffs attempted to amend their complaint so
as to cure the jurisdictional problem. There it was actually a
pro se plaintiff and they attempted to amend to include a
Constitutional Tort against the United States. However, the
Court and the Fifth Circuit affirmed that such an amendment
would be futile.

The other point that the United States raises in its

loppcett ton” ig that here’ plainetee appears to be- amending™ ite

complaint so as to avoid the dispositive motions that have
previously been filed by the defendants. Case in point on that
is Wimm versus Eckard Drugs. In that case, it was a wrongful
death suit brought by parents of the child who died from an
overdose of cough syrup. There, importantly, the amendment
came at an early stage of the proceedings. It was before

discovery was had. It was nine months before the deadline for

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 12 of 39

17
19
20
21
22

23

24

25

12

amendments of pleadings. But it was after dispositive motions

fnad been filed. And there the District Court and the Fifth

Circuit, again, affirmed and held that the amendment was used
basically for a dilatory purpose.

The other case which is‘on point is Gregery versus
Mitchell, which is the leading FTCA case on exhaustion of
administrative remedies. Like here, in that case the plaintiff
had failed to exercise their administrative remedies before
filing suit. Plaintiffs attempted to amend the pleadings so as
to create diversity jurisdiction and the District Court and,
again, the Fifth Circuit affirmed that such amendment should
not be had. .

. Well let me say this, that plaintiffs have not dealt
with these cases that were cited in the-United States' brief.
The plaintiff has come forward after being granted ten

opportunities to amend their complaint. They have now raised

1e |which wili iie against the tnited Statésas has been = ~~ 7 |

articulated in our papers in our Motion to Dismiss. They have
added claims under the Constitution, none of which will lie
against the United States. And they have also added additional
plaintiffs and defendante in addition to additional damage
claims.

Plaintiffs have not articulated why these amendments

could not have been done sooner. If it is true that these were

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 13 of 39

a4

25

13

all in there, which the United States contests, but if it is
true that these grounds were raised in their original
complaint, why in the first ten amendments were these
allegations not perfected? At some point the United States
respectfully submits that the plaintiff should commit to a
theory of their case so that litigation can proceed both
normally and as expeditiously as possible.

THE COURT: Thank you very much. Anyone else?

MR. PHAYER: Your Honor, Dennis Phayer on behalf of
Jefferson Parish and Aaron Broussard. We have adopted the
United States' arguments.

I would point out that the meat of our opposition is

that we had dispositive motions on the table at the time.

pispositive jurisdictional motions on the table. I submit that

it's not clear to anyone but plaintifis' counsel what
jurisdictional allegations are being alleged against what
defendants based on the pleadings that have been filed in this
The original allegation against Jefferson Parish and
Broussard was that it was purely supplemental jurisdiction. I
don't think it's clear from these pleadings that any
constitutional allegations were ever alleged up until the time
of the proposed eleventh amendment complaint which, again, was
after we had already filed our jurisdictional motions. And,

again, the basis was on -- it was really a back door attempt

1 epee me ae ane

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 14 of 39

ty

24

25

4

to oppose the 12{b}) Motion rather than to clarify the
pleadings.

THE COURT: Thank you, sir. _

MR. MULLALY: Good morning, Your Honor. I echo the
sentiments just expressed by able counsel for the United States —
and Jefferson Parish,

i would submit, however, that the proposed eleventh
amended complaint really doesn't set forth any violation of
federal law. Really, what it says, as the Court is probably
well aware, Section 1983 and those etatutes don't themeelves
create a cause of action. They are procedural vehicles for
bringing about alleged constitutional deprivation.

Other than that, Your Honor, we adopted the brief
filed by the United States and object to the filing.

THE COURT: Mr. Anzelmo.

MR. ANZELMO: Your Honor, anybody can read Rule 15,

read the Federal Rules, Rule 8, short, plain and concise

‘|statements. These rules contemplate that there must be-an’end:- ]°- -

That there is a focus approach to litigation.

What has happened here is the constant amendments
causing a loss of focus. It is actually causing undue delay to
the progress of the litigation because things remain in a

constant state of flux.

“And the Court has the prerogative to grant amendments,

but the Rule, because Rule 15 requires an order of Court to do

Case

24

25

2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 15 of 39

15°

it indicates that there must be some Limitations. I think that
the limitations have been reached. Especially with the now non
focused approach that we are seeing because we are not dealing
any longer with short concise statements of pleadings nor are
we being put on notice other than a repeat notice.

If we accept counsel's statements as true, he is
telling us again what he told us before. And in light of that
environment, the Court possesses the discretion either to teil
counsel that this amendment is opposed in the form that it is
presently submitted, or to allow it and then suggest to counsel
that any further amendments should follow the Federal Rules and
leave will not be granted lightly.

Thank you very much, Your Honor.

THE COURT: Mr. O'Dwyer, briefly.

MR. O' DWYER: Yes, sir. First of all, I would state

that I challenge counsel to say what statutes were totally

on behalf of the government to the effect that, oh, we have a
pending Motion to Dismiss and the amendment would be futile
under the Federal Tort Claims Act. That's not before the
Court. It hasn't been heard yet. That's a conclusory
statement with no meat.

Why did I not address the dispositive motions?

Because they're frivolous. Why did Judge Duval continue

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 16 of 39

24

25

they had a rule in judges’ school saying that ten strikes and

i6

Kimberly Williamson Butler's motion? Why did Judge Duval
continue Aaron Broussard's and the Parish's motion instead of
just granting them? We have a status conference at 11:30. I
think he is signaling a message to us. I hope I am right.

THE COURT: Ali right, Mr. O'Dwyer.

MR. O'DWYER: Two more points, Your Honor.

THE COURT: No, it's 11:25. I don't want you to be -
late for your conference so I think you have argued enough.
Perhaps I had a hangover the morning I attended
jJudges' school and they talked about motions to amend but I
don't exactly recall what was said. However, since I have been
on the bench I have managed to learn that the rule is that the
two things to be considered in looking at motions’ to amend are
the futility, or the timeliness of the amendment.

Mr. O'Dwyer, I am going to grant your motion. If they
had a rule in judges! school, again, I wasn't aware of it. If
you're out, I didn't hear it. “However, Sitice I Have ‘been on oS
the bench for three years, I think it's time we have a Knowles!
rule and until it's reversed upstairs we're going to have a
Knowles' rule and that is eleven strikes and you're out.

Future amendments are not going to be granted in this case, Mr.
O'Dwyer, unless you give me some really, reaily, really good
reasons to do go.

Motion if granted. Thank you all very much for

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 17 of 39

a4

25

1?

coming.

MR, O'DWYER: Your Honor, can I say one thing?

THE COURT: Sure.

MR. ©'DWYER: Since my eleventh amendment, I
represent several hundred more plaintiffs and there is
Litigation pending in this Court. I believe there's 16 or 17
other cases ~~

THE COURT: Right.

MR. O'DWYER: -~- under the Civil Action Number
05-4182, Berthelot, and there are a number of other parties,
defendants in the Berthelot and related cases that, you know, I
know nothing about yet. I am going to be coming back with
motions for leave to add plaintiffs and new defendants. That's
a foregone conclusion.

THE COURT: That's a different case, that’s another

matter. But, also, I'll have to look at it on-a case by case

basis. I am just saying that basically your complaint in this

jcase, to me, was borderline becausé I think you were restating ~

a lot of things that went on in the past and I do think you
were partially responding to dispositive mot ions. That kind of
motion is not going to be granted. If there is some other
grounds, obviously, I have to look at it.

MR. O'DWYER: Thank you, Your Honor.

THE COURT: Thank you all, folks. Appreciate you

coming.

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 18 of 39

(End of proceedings.)

REPORTER'S CERTIFICATE

I, Arlene Movahed, Official Court Reporter, for the
United States District Court. for the Bastern District of
Louisiana, appointed pursuant to the provisions of Title 28,

United States Code, Section 753, do hereby certify that the

had in the within-entitled and numbered cause on the date
herein before set forth and I do further certify that the
foregoing transeript has been prepared by me or under my

direction.

Official Court Reporter
United States District Cort
Bastern District of Lovisiana

CTT ee TREE eee Te F +
OFFICIAL SFe F
ARLENE Mithun. t
1  Cartified Goury +e. !
din and for the Slate :: 4
Geriificate Nuri - :

Gbrificate exper:

foregoing is a full, true and correct transeript of proceedings

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 19 of 39

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
MAUREEN O’DWYER, ET AL. * NO. 05-4181
VERSUS . * SECTION “kK”
THE UNITED STATES OF . * MAGISTRATE “3” —

AMERICA, ET AL,

PLAINTIFFS’ REPLY MEMORANDUM
TO THE GOVERNMENT’S AND OTHER DEFENDANTS
MEMORANDA IN OPPOSITION TO PLAINTIFFS’
MOTION FOR LEAVE TO FILE SUPPLEMENTAL
AND AMENDING COMPLAINT
MAY IT PLEASE THE COURT:

While plaintiffs concede that a few cases (a very few} may exist which interpret
amendment and supplementation of pleadings under Rule 15, Federal Rules of Civil
Procedure, in a very Draconian way, none of the cases cited by the Government or by any
of the other defendants should operate to deny plaintiffs the right to supplement and
amend their Complaint for the eleventh, or even for the “umpteenth”, time where, as here,
we are still (1) well within the first anniversary of Hurricane KATRINA, (2) all
defendants have not yet answered, (3) no status conference for the setting of deadlines,
mutch less a trial date, has been held, or even scheduled, and (4) neither the Government

nor the other defendants can make any serious claim that plaintiffs or their counsel are

guilty of undue delay, bad faith, dilatory motive, repeated failure to cure real or perceived ee
[EXHIBIT

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 20 of 39

“deficiencies” by prior amendment, undue prejudice to the opposing parties, or futility of
the sought-after amendments. Further, both the Government and the other defendants
have failed to even cite the Court to 28 U.S.C. §1653, which specifically addresses
amendments to allegations of jurisdiction and which, arguably, supercedes Rule 15. For
these reasons, and for the reasons which follow, plaintiffs respectfully submit that their
Motion for Leave to Supplement and Amend the Complaint should be granted.

WHAT ARE PLAINTIFFS SEEKING TO ACCOMPLISH
BY WAY OF AMENDMENT AND SUPPLEMENTATION?

The Government and the other defendants are treating the proposed Eleventh
Amendment of plaintiffs’ Complaint as a “cause celebre” suggesting that the sought-after
amendment and supplementation somehow changes the entire theory of the plaintiffs’
case. What the Government and the other defendants ignore is the fact that the Original
Complaint more than aptly described plaintiffs theory of the case, and that each
amendment since the Original Complaint was filed has been filed only with leave of court,
either from Judge Duval, from Magistrate Chasez (who the Government successfully
persuaded should recuse herself), or from Your Honor. The Government and the other
defendants also ignore the fact that plaintiffs are not only seeking amendment of the
Complaint, but supplementation of their pleadings as amended to address issues which
were only recently brought to the attention of plaintiffs and their counsel by virtue of
positions being urged by certain defendants and their counsel. The proposed amendment
being the subject of Plaintiffs’ Motion for Leave to Supplement and Amend the

Complaint accomplishes five (5) things:

1) It adds new parties plaintiffs who are represented by undersigned counsel;

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 21 of 39

2) It identifies as a party defendant, and substitutes for the fictitious
originally sued “ABC Insurance Company’, the insurance carrier of the
New Orleans Levee Board who was only recently identified by Counsel
for the Board, namely St. Paul Fire & Marine Insurance Company;

3) It adds specific jurisdictional bases for plaintiffs’ claims, supplementing

and better articulating plaintiffs’ adequate prior jurisdictional allegations;

4) It better specifies allegations against State and local elected and/or

appointed officials; and

5) It pleads compensation, the right of recoupment, offset and set-off in the

event the finder-of-fact decides not to award plaintiffs damages,

Once again, it should be noted that plaintiffs obtained leave of Court, either from
Judge Duval, from Magistrate Chasez, or from Your Honor, for every other amendment
prior to the proposed eleventh amendment. Accordingly, none of the defendants should
be allowed to complain about how many times plaintiffs have amended in the past, since
the current proposed amendment is the first which defendants have opposed, even half-
heartedly.

Neither the Government nor the other defendants have cited the Court to one case
in which the facts are remotely similar to the case at bar, or where an appellate court has
held that a Judge or Magistrate had abused his discretion by allowing amendment of a
Complaint under circumstances similar to those in this case. Indeed citing a case which
was in a procedural posture similar to this case, Learned Commentators have said that
“The broad scope and liberal application of Rule 15{a) can best be illustrated by an

example”:
Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 22 of 39

The board scope and liberal application of Rule 15(a) can best be
illustrated by an example. In Jenn-Air Products Company v. Penn
Ventilator Company, a patent infringement suit, plaintiff moved for leave
to amend its complaint fo assert a claim for the infringement of two
additional patents, a claim charging defendant with unfair competition,
and two separate claims for libel and trade disparagement. Defendant
opposed the amendment on the ground that the addition of these claims
would prejudice his action. The district court held that inasmuch as the
discovery process had just begun, defendant would not be prejudiced by
the amendment. The court also concluded that since plaintiffs’ patent
claims against defendant were simply part of a continuing commercial
battle between two competitors and plaintiffs claims of unfair
competition and libel were related to the same basic set of circumstances
as was presented by the original complaint, it was appropriate to have all
of the claims litigated at the same time. According to the court: “{I]f
plaintiff's motion were denied here a separate action against the defendant
could be instituted and, in the absence of creating undue complications at
trial, it is clearly preferable to dispose of all the contentions between the
parties in one proceeding.” Wright, Miller & Kane, Federal Practice and
Procedure, Civil 2"! §1473, p. 523.

Would judicial economy truly be served by Your Honor denying plaintiffs the
right to supplement and amend their Complaint, and forcing plaintiffs to institute a new,
separate action? ANSWER: Of course not.

WHO ARE PLAINTIFFS AND WHAT DID

PLAINTIFFS PLEAD AGAINST THE MOVING
DEFENDANTS INITIALLY?

In the Original Complaint, over fifty (50) named plaintiffs! claimed to be
representative of the following classes of people which are relevant to the claims against
the defendants opposing plaintiffs’ proposed eleventh amendment:

A. Survivors of human beings who died as a result of government’s

intentional and negligent malfeasance, misfeasance and non-feasance prior

and after Hurricane KATRINA.

' That number has now swelled to something in the neighborhood of 1000.

4.
Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 23 of 39

B. Citizens and/or residents of the Parish of Orleans, State of Louisiana, who
suffered bodily injury, mental suffering and emotional distress as a result
of government’s intentional and negligent malfeasance, misfeasance and
non-feasance prior to and after Hurricane KATRINA.

Cc. Citizens and/or residents of the Parish of Orleans, State of Louisiana, who
suffered loss of or damage to property as a result of government’s
intentional and negligent malfeasance, misfeasance and non-feasance,
whether by flood, fire or governmental sanctioning of urban terrorism.

See infra.

F, Citizens and/or residents of the Parish of Orleans, State of Louisiana, who
suffered environmental damages akin to contamination of natural
resources under the federal and state legislation which make provision for
Natural Resource Damage Assessments and damages recoverable under
the Oil Pollution Act of 1990, the Louisiana Oil Spill Prevention and
Recovery Act and CERCLA, among others. Original Complaint, Article
Il, pp. 6-12?

Although plaintiffs sued a large number of defendants, the only parties who have

opposed the latest proposed amendment to the Complaint are the Government (through
the Corps of Engineers and FEMA), the Levee Board, and Aaron Broussard and The

Parish of Jefferson.

2 The Original Complaint has now been amended to include plaintiffs from Jefferson Parish and New
Orleans East, as well as St. Bernard Parish.
Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 24 of 39

In their Original Complaint plaintiffs alleged that the moving parties were liable
to them for the damages sustained by plaintiffs on a number of legal theories applicable
to claims against the Government and public officials, including:

Incompetence
Violation of duty and statute
Negligence
Gross negligence
Malfeasance
Misfeasance
Non-feasance
More particularly, plaintiffs pleaded as follows in the Original Complaint:

ARTICLE VII.
COUNT 2

Plaintiffs reaver and reiterate all of their allegations as aforesaid
and, in addition aver that certain of the defendants intentionally,
negligently, and with malfeasance, misfeasance and non-feasance, failed
in their duty to ensure a competent design of the levee systems for the
London Avenue Canal and the 17" Street Canal,> which were defectively
designed, the result being that 80% of “something” was destroyed — not by -
Hurricane KATRINA but by incompetence on the part of men to whom
the citizens of New Orleans entrusted the safety of their lives and property.
(Original Complaint, p. 34.).

ARTICLE IX
COUNT 3

Plaintiffs reaver and reiterate their allegations as aforesaid, and in
addition aver that certain defendants intentionally, negligently and with
malfeasance, misfeasance and non-feasance failed to timely stop the
flooding of 80% of “something” which had survived Hurricane
KATRINA but which could not survive the incompetence of government
officials at the local, state and federal levels. (Original Complaint, p. 35.).

> The Complaint has now been amended to include claims involving the Industrial Canal, the Mississippi
River Gulf Outlet and the Gulf Intracoastal Waterway.

-6-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 25 of 39

ARTICLE XV.
COUNT 9

Plaintiffs reaver and reiterate all of their allegations as aforesaid,
and in addition aver that certain of the defendants negligenily,
intentionally and with malfeasance, misfeasance and non-feasance caused
pollution of the environment of the territory and atmosphere of the Parish
of Orleans, State of Louisiana, which not only caused damage to plaintiffs
and other persons, firms and corporations similarly situated to plaintiffs,
but which pollution must be contained, cleaned up, remediated and
disposed of ~ a Herculean and expensive task. (Original Complaint, pp.
43-45.).

The Court will note the repeated use of the following words in the Original
Complaint when describing the acts and omissions of federal, state and local officials:
Incompetence
Intentionally
Negligently
_ Malfeasance
Misfeasance
Non-feasance
- Plaintiffs also remind the Court that although their Complaint, as supplemented
and amended, specifically alleges the terms “malfeasance, misfeasance and non-
feasance”,* which plaintiffs aver was both negligent and intentional, plaintiffs are also
alleging violation of a criminal statute by state and local elected and appointed officials

and, more particularly, violation of LSA-R.S. 14:134, which deals specifically with the

crime of malfeasance in office and which provides as follows:

* In addition to incompetence, violation of duty and statute, negligence, gross negligence, etc.

-7-
Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 26 of 39

Malfeasance in office

Malfeasance in office is committed when any public
officer or public employee shall:

(1) — Intentionally refuse or fail to perform any
duty lawfully required of him, as such officer or
employee, or

(2) Intentionally perform any such duty in an
unlawful manner, or

(3) Knowingly permit any other public officer
or public employee, under his authority, to
intentionally refuse or fail to perform any duty
lawfully required of him, or to perform any such
duty in an unlawful manner ;

(4) Any duty lawfully required of a public
officer or public employee when delegated by him
to a public officer or public employee shall be
deemed to be a lawful duty of such public officer or
employee. The delegation of such lawful duty shail
not relieve the public officer or employee of his
lawful duty.

(5) Whoever commits the crime of malfeasance

in office shall be imprisoned for not more than five

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 27 of 39

years with or without hard labor or shall be fined
not more than five thousand dollars or both.

Accordingly, it is respectfully submitted that plaintiffs’ Original Complaint very
adequately meets both the meaning and intent of Rule 8 that “[eJach averment of a
pleading shall be simple, concise and direct.”

Although the Original Complaint charged incompetence as well as negligent and
intentional malfeasance, misfeasance and non-feasance, the word “misconduct” did not
appear in the Original Complaint. Accordingly, plaintiffs recently filed their Motion for
Leave to Supplement and Amend the Complaint to specifically allege the violation of
LSA-R.S. 9:2798.1 and LSA-R.S. 29:735 and the term “misconduct”, which plaintiffs
submit should operate to strip State and local elected and appointed officials of the
immunity they might otherwise have enjoyed under Louisiana law. Thus, arguably, the
proposed amendment by adding Article XIXXI to the Complaint could be viewed as
superfluous “tweaking” of the pleadings. However, plaintiffs would rather be “safe” than
“sorry”. Assuming that the Motion for leave to Supplement and Amend the Complaint is
granted, then the following allegation will have been perfected against State and local
elected and appointed officials:

“Plaintiffs aver that the acts and omissions by State
and local elected and/or appointed officials, complained of
herein, constituted criminal, malicious, intentional, willful,
outrageous, reckless and/or flagrant misconduct, so as to
deprive those officials of immunity from liability pursuant

to the provisions of LSA-R.S. 9:2798.1, and, additionally,

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 28 of 39

aver that those officials were in derogation of and violated

specific rules and regulations promulgated pursuant to the

provisions of LSA-R.S. 29:735, so as to deprive those
officials of immunity from liability under the provisions of

that statute as well.

It is respectfully submitted that plaintiffs proposed amendments to their original
allegations do not really change any original theory of the case, but merely more
specifically charge certain defendants with misconduct and other behavior which should
strip them of any claimed statutory immunity from liability, and which defendants were
already on notice of, early on.

Such amendments are specifically sanctioned by Rule 15.

“A more common use of Rule 15(a) amendments is correct
insufficiently stated claims or defenses. .. . Along the same lines, a party
may make an amendment to simplify a previously alleged claim or
defense. A liberal policy toward allowing amendments to correct errors in
the pleadings clearly is desirable and furthers one of the basic objectives
of the Federal Rules — the determination of cases on their merits.” Wright

Miller& Kane, Federal Practice and Procedure: Civil 2"? §1474, pp. 529-

536.
Plaintiffs respectfully submit that their proposed amendments to plead exceptions

to immunity should be allowed.

* Proposed Eleventh Supplemental and Amending Complaint, Article IV, pp. 5-6.

-1Q-
4

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 29 of 39

PLAINTIFFS ALSO SEEK TO AMEND THEIR JU RISDICTIONAL
ALLEGATIONS TO PLEAD MORE PRECISELY

Plaintiffs’ original jurisdictional allegations were as follows:
IV.

This Court is the exclusive Court of competent
jurisdiction over the United States of America. This Court
has ancillary or pendant jurisdiction over the remaining
defendants. Original Complaint, Article IV, p. 17.

However, plaintiffs also pleaded in their Original Complaint as follows:
XTXX.

Undersigned counsel for plaintiffs represent to the Court
that this Complaint has been prepared without the benefit of a law
library. Accordingly, undersigned counsel reserves the right to
amend this Complaint after they have the opportunity to read the
law.

Accordingly, by Fourth Supplemental and Amending Complaint, filed with leave
of Court (Judge Duval) on October 25, 2005, plaintiffs pleaded as follows:
It.
By amending Article IV of the Complaint, as supplemented and
amended, to add the following language:
“This Court also has original subject matter jurisdiction of
the claims herein asserted, since plaintiffs were deprived of
rights to life, property and the pursuit of happiness,

guaranteed by the U.S. Constitution, and the laws, statutes

-l1-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 30 of 39

and treaties amendatory thereto, by State and/or municipal
governmental action, giving rise to purely federal causes of
action.”

The above and foregoing jurisdictional allegation is “simple, concise and direct”.
Accordingly, it is respectfully submitted that plaintiffs originally pleaded all that was
reasonably necessary to properly invoke the jurisdiction of This Honorable Court. In an
abundance of caution, however, plaintiffs have now accomplished two additional matters:
(1) they filed their Motion for Leave to Supplement and Amend Complaint, and (2) they
perfected their administrative claims against the Federal Government through the Corps
of Engineers and FEMA. The proposed amendment of the Complaint would add the
following jurisdictional allegations against all defendants:

“More particularly, this Court has jurisdiction of the claims
herein asserted by virtue of the following, inter alia:
Original jurisdiction pursuant to the Second, Fifth and
Fourteen Amendments to the United States Constitution
Original jurisdiction pursuant to 28 USC §1331

Original jurisdiction pursuant to 28 USC §1346

Original jurisdiction pursuant to 28 USC §2671, et seq.

Original jurisdiction pursuant to Title XI of the Civil Rights
Act

Original jurisdiction pursuant to 42 USC §1983
Original jurisdiction pursuant to 42 USC §1985
Original jurisdiction pursuant to 42 USC §1986
Original jurisdiction pursuant to 42 USC §1988

Original jurisdiction pursuant to the Class Action Fairness
Act, 28 USC §1332, by virtue of the fact that the matter in

-}2-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 31 of 39

controversy in this civil action exceeds the sum of $5
million, exclusive of interest and costs.

‘Supplemental jurisdiction pursuant to 28 USC §1367

This Court also has jurisdiction of the claims herein
asserted by virtue of the following environmental statutes,
inter alia, which defendants violated, thus entitling
Plaintiffs to damages from defendants:

The Oil Pollution Act of 1990 and precursor legislation

The Comprehensive Environmental Response
Compensation and Liability Act and precursor legislation

The Federal Water Pollution Control Act
The Clean Water Act
The Clean Air Act
The National Environmental Policy Act
The Toxic Substances Control Act
The Resource Conservation and Recovery Act
The Louisiana Environmental Quality Act
The Louisiana Air Contro] Law
The Louisiana Water Control Law
The Louisiana Oil Spill Prevention and Response Act
Plaintiffs administrative claims against the Government, which are embodied in
the attached letter to the Corps of Engineers and FEMA dated February 17, 2006, include
the following:
The statutory bases for each individual claim against your agencies may
include the following, inter alia:

Malfeasance, misfeasance and nonfeasance

-13-
Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 32 of 39

Violation of LSA-R.S. 14:134

Unconstitutional taking of property without just compensation in violation
of the Fifth Amendment to the Constitution of the United States

Articles 667, 2315, 2315.1, 2315.2, 2315.6, 2316, 2317, 2317.1 and 2322
of the Louisiana Civil Code

The Oil Pollution Act of 1990 and precursor legislation

The Comprehensive Environmental Response Compensation and Liability
Act and precursor legislation

The Federal Water Pollution Control Act

The Clean Water Act

The Clean Air Act

The National Environmental Policy Act

The Toxic Substances Control Act

The Resource Conservation and Recovery Act
The Louisiana Environmental Quality Act
The Louisiana Air Control Law

The Louisiana Water Control Law

The Louisiana Oil Spill Prevention and Response Act

It is respectfully submitted that having alleged deprivation of “rights to life,
property and the pursuit of happiness guaranteed by the U.S. Constitution, and the laws,
statutes and treaties amendatory thereto”, were sufficient to include most of the newly-
referenced federal statutes. Thus, it is respectfully submitted that any technical defect in
plaintiffs’ original jurisdictional allegations should be allowed to be cured by plaintiffs,

who should also be allowed to amend their Complaint to include purely Federal

-14-
Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 33 of 39

Jurisdictional allegations, including the invocation of federal jurisdiction under the Fifth
Amendment, which prohibits the taking the property without just compensation,
jurisdiction under various Federal pollution statutes,° jurisdiction pursuant to the Class
Action Fairness Act, and of course supplemental jurisdiction. In short, plaintiffs’
proposed amendment doesn’t “change” anything, it simply better articulates the Court’s
jurisdiction, which has always existed anyway.

THE GOVERNMENT AND THE OTHER DEFENDANTS
IGNORE 28 USC §1653

28 USC §1653 also is invoked by plaintiffs and, arguably, supercedes Rule 15(a).
28 USC §1653 is quite broad, and liberal in scope, providing as follows:

“Defective allegations of jurisdiction may be amended, upon terms, in the
trial or appellate courts.”

Since the moving defendants appear to have challenged plaintiffs original
jurisdictional allegations, which plaintiffs submit were more than adequate, plaintiffs
proposed amendment simply seeks to clarify their original jurisdictional allegations,
which may have been technically insufficiently stated.

RULE 15 TAKES A LIBERAL APPROACH TO AMENDING AND

SUPPLEMENTING PLEADINGS

The tenor of the Government’s and the other defendants’ opposition to the
plaintiffs’ Motion for Leave to Supplement and Amend the Complaint is reflective of a
“GOTCHA” approach to the practice of law which Rule 15 was specifically adopted to

eliminate. Wright, Miller & Kane, Federal Practice and Procedure: Civil 2d §1472, pp.

* The Court will recall that the Original Complaint specifically included causes of action “under the

federal and state legislation” dealing with pollution, including “the Oil Pollution Act of 1990, the Louisiana
Oil Spill Prevention and Recovery Act, and CERCLA, among others.” Original Complaint, Article II, p.
11.

-15-
» Case 2:05-cv-04182-SRD-JCW. Document 78-1 Filed 04/13/06 Page 34 of 39

505-507, recites Rule 15’s importance to fulfilling the purposes of the Federal Rules of
Civil Procedure:

“Rule 15 reflects two of the most important policies of the federal rules.
First, the rule’s purpose is to provide maximum opportunity for each claim
to be decided on its merits rather than on procedural technicalities. This is
demonstrated by the emphasis Rule 15 places on the permissive approach
that the district courts are to take to amendment requests, no matter what
their character may be; the rule is in sharp contrast to the common law
and code restriction that amendments could not change the original cause
of action. No longer is a party to be irrevocably bound to the legal or
factual theory of his first pleading. The thrust of the rule also is reinforced
by the elimination of the wooden cause-of-action test for determining
whether an amended pleading should relate back and when a supplemental
pleading is appropriate.

Second, Rule 15 reflects the fact that the Federal Rules assign the
pleadings the limited role of providing the parties with notice of the nature
of the pleader’s claim or defense and the transaction, event, or occurrence
that has been called into question; they no longer carry the burden of fact
revelation and the issue formulation which is now discharged by the
discovery process, or control the trial phase of the action. Thus the strong

policy against variances between pleading and proof that existed at
common law and to a lesser degree under the codes has been rejected.

THE GOVERNMENT AND THE OTHER DEFENDANTS READ
MORE INTO THE JURISPRUDENCE INTERPRETING
RULE 15 THAN THE LAW ACTUALLY ALLOWS

The government and the other defendants put undue emphasis on the effect of

amendment of pleadings to the opposing or non-moving party, but ignore possible
prejudice to the moving party, in this case plaintiffs:

“Perhaps the most important fact enlisted by the Court and the most

frequent reason for denying leave to amend is that the opposing party will

be prejudiced if the movant is permitted to alter his pleading. Conversely,

if the Court is persuaded that no prejudice will accrue, the amendment

should be allowed. Thus, the facts of each case must be examined to

-16-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 35 of 39

,

determine if the threat of prejudice is sufficient to justify denying leave to
amend. In order to reach a decision on this point, the Court will consider
the position of both parties and the effect the request will have on them.
_ This entails an inquiry into the hardship to the moving party if leave to
amend is denied, the reasons for the moving party failing to include the
material to be added in the original pleadings, and the injustice resulting to

the party opposing the motion should it be granted.” Wright, Miller &

Kane, §1487, pp. 613-623.
What has the Supreme Court said about amendment of pleadings? In Foman v.

Davis, 83 S.Ct. 227, 371 U.S. 178 (1962), the Supreme Court enunciated the following

general standard, which is to be employed under Rule 15 (a) by district courts:

If the underlying facts or circumstances relied upon by a plaintiffs may be
a proper subject of relief, he ought to be afforded an opportunity to test his
claim on the merits. In the absence of any apparent or declared reason —
such as undue delay, bad faith or dilatory motive on the part of the movant,
repeated failure to cure deficiencies by amendments previously allowed,
undue prejudice to the opposing party by virtue of allowance of the.
amendment, futility of amendment, etc. — the leave sought should, as the
rules require, be “freely given”. 83 S.Ct. @ 230, 371 U.S. @ 182.

Both the case law and the Learned Commentators make clear that “prejudice” to
the opposing party, not the mover’s lack of diligence, is the crucial factor in determining

whether or not to grant leave to amend the complaint. Wright, Miller & Kane, Federal

Practice and Procedure: Civil Second §1487, p. 613, et seq., and cases cited therein. In
the case at bar, no one has even claimed, much less proven, how plaintiffs’ Motion for

Leave to Supplement and Amend would cause any defendant prejudice.

-|7-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 36 of 39

It is also interesting that the Learned Commentators report many circumstances
much more egregious than in the case at bar where amendments have been allowed:
Quite appropriately, the Courts have not imposed any arbitrary timing
restrictions on a party’s request for leave to amend and permission has
been granted under Rule 15(a) at various stages of the litigation: following
discovery; after a pre-trial conference; at a hearing on a motion to
dismiss or for summary judgment; after a motion to dismiss has been
granted but before the order of dismissal has been entered; when the cases
on the trial calendar and has been set for a hearing by the district court; at
the beginning, during, and at the close of trial; after a judgment has been

entered; and even on remand following appeal.” Wright, Miller & Kane,

§1488, p. 652, et seq., and cases cited therein.
This case does not come “close” to duplicating the foregoing “egregious” circumstances
in which amendments were allowed.

The law as enunciated in the Fifth Circuit is as follows:

Fed.R.Civ.P. 15(a) permits amendment of a pleading after a responsive pleading
has been served with leave of court. However, the court should freely give leave to
amend “when justice so requires.” It is often said that this determination rests in the
sound discretion of the district court. See, e.g, Chitimacha, Tribe of Louisiana y. Harry
L. Laws Co., 690 F.2d 1157, 1163 (5" Cir. 1982), cert. denied, (1983). However, the
Rule “evinces a bias in favor of granting leave.” /d (quoting Dussoupy v. Gulf Coast
Investment Corp., 660 F.2d 594, 597 5" Cir. 1981)). The policy of the federal rules is to

permit liberal pleading and amendment, thus facilitating adjudication on the merits while

-18-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 37 of 39

avoiding an excessive formalism. Dussouy, 660 F.2d at 598, (citing Foman v. Davis, 371
USS. 178, 182, 83 S.Ct. 227, 230 9 L.Ed. 2d 48, 78 S.Ct. 99, 103, 2 L.Ed. 2d 80 (1957)).
Thus, if the district court lacks a “substantial reason” to deny leave, its discretion “is not

broad enough to permit denial.” /d. Jamieson by and through Jamieson v. Shaw, 772

F.2d 1205, 1208 (Fifth Cir. 1985).
It is respectfully submitted that, at this early stage of this litigation, there is no
“substantial reason” why this Court should deny leave to amend, and that Your Honor

really has no discretion to permit denial, according to the Fifth Circuit.

WHAT HAS JUDGE DUVAL ALREADY “SIGNALED” COUNSEL
AND THE COURT?

It is also respectfully submitted that Judge Duval has already “signaled” both
counsel for the parties and Your Honor concerning how he may be viewing plaintiffs’
proposed Eleventh Amendment. In the attached Minute Entry dated February 17, 2006,
Judge Duval continued the hearing date on Rule 12 Motions to Dismiss filed by —
Defendants Aaron Broussard and The Parish of Jefferson and by Defendant Kimberly
Williamson Butler from February 22, 2006, until March 8, 2006, stating in his Minute
Entry:

“The Court is aware that a Motion to File Eleventh Supplemental and
Amending Complaint which adds new jurisdictional allegations’ that may
have a bearing on these motions is set for hearing before Magistrate Judge
Knowles at 11:00 A.M. on February 22, 2006, the same date. As a result,
the Court believes that it is in the interest of judicial economy to continue
the hearing on the noted Motions to Dismiss.”

If Judge Duval truly believes that the referenced Rule 12 Motions had any merit,

would he have continued the hearings, or would he simply have ruled on the motions?

7 Plaintiffs submit that the jurisdiction of the Court always bas existed, and that plaintiffs prior

jurisdictional allegations were broad enough to include the “new” specific allegations.

-19-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 38 of 39

By referencing “the interest of judicial economy”, was Judge Duval signaling his
awareness of Rule 15’s liberal amendment policy, particularly at this early stage of
litigation? If Judge Duval truly believed that the Court lacks jurisdiction over plaintiffs’
claims, and that plaintiffs’ proposed amendment of their jurisdictional allegations would
be “futile”, would he have gone to the trouble of continuing the hearings on the Motions
to Dismiss, invoking “the interest of judicial economy”? ANSWER: Of course not.

CONCLUSION

In concluding, plaintiffs refer the Court one last time to the following specific
language from Rule 15(a), “. . . and leave shall be freely given when justice so requires”,
as authority for the proposition that leave to supplement and amend the Complaint should

be granted to plaintiffs in this particular instance.

Respectfully submitted,

LAW OFFICES OF
ASHTON R. O’DWYER, JR.
Counsel for Plaintiffs

By:

Ashton R. O’ Dwyer, Jr.
In Proper Person

Bar No. 10166

One Canal Place

365 Canal Street

Suite 2670

New Orleans, LA 70130
Tel. (504) 561-6561
Fax. (504) 561-6560

-2?0-

Case 2:05-cv-04182-SRD-JCW Document 78-1 Filed 04/13/06 Page 39 of 39

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been served upon all counsel of

record via facsimile, this _ day of , 2006.

-2I-

